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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

EL CAMPO VENTURES, LLC,                              §
                                                     §
               Plaintiff,                            §
                                                     §
v.                                                   §                    1:20-CV-560-RP
                                                     §
STRATTON SECURITIES, INC., et al.,                   §
                                                     §
               Defendants.                           §

                                        FINAL JUDGMENT

       After a three-day jury trial, the jury in this case returned a verdict in favor of Plaintiff El

Campo Ventures, LLC (“Plaintiff”) on September 9, 2021. The jury found that Defendant Stratton

Securities, Inc. failed to comply with the agreement in dispute and awarded damages to Plaintiff.

(Jury Verdict, Dkt. 109). Accordingly, the Court renders this final judgment pursuant to Federal Rule

of Civil Procedure 58.

       IT IS ORDERED that judgment is entered in favor of Plaintiff. IT IS FURTHER

ORDERED that Plaintiff is AWARDED damages in the amount of $4,095,300.

       IT IS FURTHER ORDERED that any relief requested by any party not expressly granted

is DENIED.

       IT IS FURTHER ORDERED that this action is CLOSED.




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       IT IS FINALLY ORDERED that Plaintiff may file a motion for reasonable attorneys’

fees and a bill of costs, with supporting documentation, no later than fourteen days after the entry of

final judgment, pursuant to Local Rules CV-7 and CV-54.

         SIGNED on September 14, 2021.


                                               _____________________________________
                                               ROBERT PITMAN
                                               UNITED STATES DISTRICT JUDGE




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